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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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05 sEP -2 PH 5: 2a

 

UNITED“STATES oF AMERICA,
Plaintiff,

V.

EDDIE D. JETER,

Defendant.

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Nos.

97-20234
97-20235
97-20236
97-20237
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97-20239
97-20240
97-20441

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ORDER GRANTING EXTENSION OF TIME TO SURRENDER

 

Before the Court is the Defendant's motion to continue his

surrender date (Defendant'

6, 2005), filed September 2, 2005.

s current surrender date is September

The Defendant requests an

additional thirty (30) days in order to continue his recovery

from a recent heart catherization and to determine if additional-

heart surgery and possible eye surgery will be necessary.

The Defendant's motion is hereby GRANTED.

IT IS SO ORDERED THIS § DAY OF September, 2005.

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J P. MCCALLA
ITED STATES DISTRICT JUDGE

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UNITED `STATES DISTRICT COURT - W"'RTE D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 281 in
case 2:97-CR-20240 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

